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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                        CORPUS CHRISTI DIVISION

Stephen Brown

v.                                           Case Number: 2:17−cv−00325

The Water's Edge, et al.




                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable
Nelva Gonzales Ramos
PLACE:
United States District Court
1133 N. Shoreline Blvd.
Corpus Christi, TX
DATE: 2/2/2018

TIME: 09:00 AM
TYPE OF PROCEEDING: Initial Conference



Date: January 2, 2018
                                                       David J. Bradley, Clerk
